

People v Vega (2023 NY Slip Op 01766)





People v Vega


2023 NY Slip Op 01766


Decided on April 04, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 04, 2023

Before: Webber, J.P., Oing, Gesmer, Mendez, Shulman, JJ. 


Ind. No. 3252/16 Appeal No. 17630 Case No. 2021-03082 

[*1]The People of the State of New York, Respondent, 
vFrancisco Vega Vasquez, Appellant.


Mark W. Zeno, Center for Appellate Litigation, New York (Alma D. Gonzalez of counsel), for appellant.
Letitia James, Attorney General, New York (Hannah Stith Long of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, Bronx County (James McCarty, J.), rendered June 03, 2019,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 4, 2023
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate Division,
First Department.








